          Entered on Docket December 4, 2018                      Below is the Order of the Court.


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 3                                                                Timothy W. Dore
                                                                  U.S. Bankruptcy Court
                                                                  (Dated as of Entered on Docket date above)
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 8    __________________________________________________________________________

 9                                     UNITED STATES BANKRUPTCY COURT
10                                     WESTERN DISTRICT OF WASHINGTON

11   In Re:                                                  Case No. 18-14153-TWD
12
     Daniel Kenneth Hughes                                   Chapter 7
13   Brittany Michelle Hughes,
                                                             ORDER TERMINATING THE
14            Debtors.                                       AUTOMATIC STAY
15
         This matter came before the Court on the Motion for Relief from Automatic Stay filed by
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     MidFirst Bank (“Movant”). Based upon the record on file and the representations made to the
17
18   court, IT IS HEREBY ORDERED:

19                     1.        This Order affects the real property located at 1516 W Memorial Dr,
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              Connersville, IN 47331 (the “Property”).
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                       2.        The automatic stay is terminated as to Movant. Movant may pursue all
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23            remedies under state law in connection with the Property and security interest, and may

24            commence or continue any action necessary to obtain complete possession of the
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              Property free and clear of claims of the bankruptcy estate.
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                       3.        Movant, at its option, may offer, provide and enter into any potential
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28            forbearance agreement, loan modification, refinance agreement or other loan

29            workout/loss mitigation agreement as allowed by state law. Movant may contact Debtors


     Order Granting Relief From Stay                     1                                 McCarthy & Holthus, LLP
     MH# WA-18-150127                                                                  108 1st Avenue South, Ste. 300
                                                                                                  Seattle, WA 98104
                                                                                                     (206) 596-4856
      Case 18-14153-TWD                 Doc 14   Filed 12/04/18    Ent. 12/04/18 14:58:09            Pg. 1 of 2
 1            via telephone or written correspondence to offer such an agreement. Any such agreement
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              shall be non-recourse unless included in a reaffirmation agreement.
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                       4.        The relief granted herein shall be binding and of full force and effect in
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 5            any conversion of this case to any other chapter. A conversion to another chapter does

 6            not stay or enjoin the effect of this Order, or prevent Movant from foreclosing and selling
 7            the Property, and recovering its costs, unless otherwise ordered by this Court.
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                                              / / / END OF ORDER / / /
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     Submitted by:
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     McCarthy & Holthus, LLP
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14   /s/ Lance E. Olsen
     Lance E. Olsen, Esq. WSBA 25130
15   Michael S. Scott, Esq. WSBA 28501
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     Attorneys for Movant
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     Order Granting Relief From Stay                      2                            McCarthy & Holthus, LLP
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      Case 18-14153-TWD                Doc 14   Filed 12/04/18     Ent. 12/04/18 14:58:09        Pg. 2 of 2
